Case 2:18-cv-16509-MCA-AME Document 82-9 Filed 05/07/21 Page 1 of 2 PageID: 839




 James J. Panzini, Esq. (Bar ID: 022101990)
 Pooja Bhutani (Bar ID: 169592016)
 JACKSON LEWIS P.C.
 766 Shrewsbury Avenue
 East Tower, Suite 101
 Tinton Falls, New Jersey 07724
 T: 732-532-6148
 F: 732-842-0301
 Attorneys for Defendants

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

  RESHMA ABELL,                                 :
                                                :   Civil Action No.:
                       Plaintiff,               :   2:18-cv-16509 (MCA) (AME)
                                                :
                        v.                      :
                                                :
  PACIRA PHARMACEUTICALS, INC.,                 :
  DAVE STACK, individually and in his           :        CERTIFICATE OF SERVICE
  capacity as Chief Executive Officer of        :
  PACIRA PHARMACEUTICALS, INC.,                 :
  and RICH KAHR, PETER MURPHY,                  :
  DENNIS       McLOUGHLIN,        PAUL          :
  CIAVOLELLA, GLENN REISER, JOYCE               :
  DAVIS AND MATT LEHMANN, in their              :
  capacities as employees of PACIRA             :
  PHARMACEUTICALS, INC.,                        :
                                                :
                       Defendants.              :

               I hereby certify that Defendants’ Pacira Pharmaceuticals, Inc., Rich Kahr, Peter

 Murphy, and Glenn Reiser, (collectively as, “Defendants”), Notice of Motion for Summary

 Judgment, Memorandum of Law in Support of Motion for Summary Judgment, Statement of

 Undisputed Material Facts, Declarations of James J. Panzini and Richard Kahr, Compendium of

 Unpublished Cases, proposed form of Order, and this Certificate of Service were e-filed through

 ECF and served upon Plaintiff’s counsel, Jason A. Stewart, Esq., via ECF, on May 7, 2021.
Case 2:18-cv-16509-MCA-AME Document 82-9 Filed 05/07/21 Page 2 of 2 PageID: 840




                   I further certify a true and correct courtesy copy of the above-named documents

 were sent via overnight mail to the Honorable Madeline Cox Arleo, U.S.D.J. on May 7, 2021.


 Dated: May 7, 2021

                                        s/ Pooja Bhutani
                                        Pooja Bhutani



 4810-5178-3144, v. 1




                                                  2
